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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Santiago Abreau,                             )
                                             )
               Plaintiff,                    )
                                             )
       vs.                                   )       Case No. 1:16-cv-00143
                                             )
Rose Rush Inc., d/b/a Rosebud on Rush,       )       Hon. Judge John W. Darrah
                                             )
               Defendant(s).                 )


                            PLAINTIFF’S NOTICE OF SETTLEMENT

       Plaintiff, SANTIAGO ABREAU (“Plaintiff”), by and through undersigned counsel,

pursuant to Local Rule 3.08(a), hereby gives notice that Plaintiff and Defendant have reached an

agreement for settlement, and are in the process of finalizing the settlement documents. As such,

the parties respectfully request that the Court retain continuing jurisdiction over this matter

pending the filing of a Stipulation of Dismissal, which the parties expect will follow in January

of 2016. The Parties further request that this Court stay any pending deadlines in this matter.


Dated: March 21, 2016
                                                     On Behalf of Plaintiff,


                                                     /s/ Ivo Tchernev
                                                     Ivo Tchernev, Esq.
                                                     Law Offices of Jacobson and Tchernev, Ltd.
                                                     33 N. Dearborn St., Suite 1907
                                                     Chicago, IL 60602
                                                     (312) 669-4441 Office
                                                     (312) 781-6732 Fax
                                                     legal@lawjtchicago.com
                                                     Illinois Bar Number: 6304132
